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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

KEYVONE TRAYUS WILLIAMS, )
Plaintiff,
v. ) Civil Action No. 3:19CV561-HEH
A. BARRIE, et al.,
Defendants. ,
MEMORANDUM OPINION

(Dismissing Action Without Prejudice)

Plaintiff, a Virginia inmate proceeding pro se, brings this action. By
Memorandum Order entered on August 30, 2019, the Court conditionally docketed the
action. At that time, the Court admonished Plaintiff that he “must immediately advise the
Court of his new address in the event that he is transferred, released, or otherwise
relocated while the action is pending.” (ECF No. 3 at 3.) The Court specifically warned
Plaintiff that “FAILURE TO DO SO WILL RESULT IN DISMISSAL OF THE
ACTION.” (/d.) Plaintiff is no longer incarcerated with the Virginia Department of
Corrections.! The Court has been informed that Plaintiff was released in June 2021.
Since that date, Plaintiff has not contacted the Court to provide a current address or
otherwise communicated with the Court.

Plaintiff's failure to contact the Court and provide a current address indicates his
lack of interest in prosecuting this action. See Fed. R. Civ. P. 41(b). Accordingly, the

action will be dismissed without prejudice.

 

' See https://vadoc.virginia.gov/general-public/offender-locator/ (last visited November 8, 2021).
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An appropriate Order shall accompany this Memorandum Opinion.

NW /s/

Henry E. Hudson
Senior United States District Judge

Date: Nov. to 202)

Richmond, Virginia
